Case 3:21-cr-30073-SPM Document 18 Filed 10/13/21 Page 1 of 11 Page ID #30




                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS

  UNITED STATES OF AMERICA,

                                 Plaintiff,

                  vs.                                     CRIMINAL NO. 3:21-cr-30073-SPM

  ANGELA M. MOHLER,                              )
                                                 )
                                 Defendant.      )

                                        PLEA AGREEMENT


           The attorney for the United States and the attorney for the Defendant have engaged in

  discussions and have reached an agreement, pursuant to Federal Rule ofCriminal Procedure

  11(c)(1)(B). The terms are as follows:

                                I. Charges. Penalties, and Elements

           1.     Defendant understands the charges contained in the indictment and will plead

  guilty to Counts 1 through 5. Defendant understands the essential elements ofthese counts and

  the possible penalties, as set forth below:




                                                                   1. Knowingly and intentionally obtained;
                                                                        and
                  Charge        Imprisonment: up to 4 years
                                Fine: up to $250,000               2.   A controlled substance; and
     1-5
                                Supervised Release: up to 1 year
                21U.S.C.§
                                Speciai Assessment: $100 / count 3. By misrepresentation, fraud,forgery,
                 843(A)(3)
                                                                    deception, or subterfuge.



  Defendant committed acts that satisfy each ofthe essential elements listed above,

           2.     Title 18, United States Code, Section 3013 requires the Court to assess a $100

 "special assessment" per felony count. Defendant understands that the special assessment will be
                                                                                                              ■I.
  due immediately at the time of sentencing.


                                                                                                      CfVn
Case 3:21-cr-30073-SPM Document 18 Filed 10/13/21 Page 2 of 11 Page ID #31
Case 3:21-cr-30073-SPM Document 18 Filed 10/13/21 Page 3 of 11 Page ID #32
Case 3:21-cr-30073-SPM Document 18 Filed 10/13/21 Page 4 of 11 Page ID #33
Case 3:21-cr-30073-SPM Document 18 Filed 10/13/21 Page 5 of 11 Page ID #34
Case 3:21-cr-30073-SPM Document 18 Filed 10/13/21 Page 6 of 11 Page ID #35
Case 3:21-cr-30073-SPM Document 18 Filed 10/13/21 Page 7 of 11 Page ID #36
Case 3:21-cr-30073-SPM Document 18 Filed 10/13/21 Page 8 of 11 Page ID #37
Case 3:21-cr-30073-SPM Document 18 Filed 10/13/21 Page 9 of 11 Page ID #38
Case 3:21-cr-30073-SPM Document 18 Filed 10/13/21 Page 10 of 11 Page ID #39
Case 3:21-cr-30073-SPM Document 18 Filed 10/13/21 Page 11 of 11 Page ID #40
